














COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-08-208-CV



IN THE INTEREST OF L.J., JR. 

AND L.J., III, CHILDREN
	



 
	

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FROM THE 323
RD
 DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant’s “Motion To Dismiss Appeal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).



PER CURIAM

PANEL D: &nbsp;DAUPHINOT, HOLMAN, and GARDNER, JJ. &nbsp;



DELIVERED: &nbsp;July 17, 2008 &nbsp;

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




